         Case 1:18-cr-00601-PGG Document 379 Filed 11/08/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

             -against-                                                  ORDER

ARGEMIRO ZAPATA-CASTRO,                                          (S1) 18 Cr. 601 (PGG)
                 Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               It is hereby ORDERED that a telephone conference will take place on December

18, 2020 at 11:00 a.m. to discuss Defendant Argemiro Zapata-Castro’s recent letter to the Court.

The sentencing of the Defendant scheduled for November 20, 2020 is adjourned sine die.

               With respect to the December 18, 2020 conference, the parties are directed to dial

888-363-4749 to participate, and to enter the access code 6212642. The press and public may

obtain access to the conference by dialing the same number and using the same access code. The

parties should call in at the scheduled time and wait on the line for their case to be called. At that

time, the Court will un-mute the parties’ lines. Two days before both the conference, the parties

must email Michael_Ruocco@nysd.uscourts.gov and

GardepheNYSDChambers@nysd.uscourts.gov with the phone numbers that the parties will be

using to dial into the conference so that the Court knows which numbers to un-mute. The email

should include the case name and case number in the subject line.

Dated: New York, New York
       November 8, 2020
